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                                                                      FORM 11-1


UNITED STATES COURT OF INTERNATIONAL TRADE                             FORM 11


  Sea Shepherd New Zealand,
  et al.                Plaintiff,
                                               Court No.:           20cv00112
       v.
  Ross, et al.
                            Defendant.



                          NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that, pursuant to Rule 75(b) of the Rules of the

United States Court of International Trade, the undersigned appears as attorney
                          Sea Shepherd New Zealand and
for plaintiff           , ______________________________, in this action
                          Sea Shepherd Conservation Society
           and for the parties indicated in the actions listed on the attached

           schedule

and requests that all papers be served on him/her.

          The individual attorney in the undersigned firm, corporate law

          department, or the Government, who is responsible for the litigation, is

          _____________________________________________.
                                                Lia Comerford
Date: _____________________                     __________________________
                                                          Attorney
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